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AO 91 (Rev. ll/l l) Criminal Comploint

 

UNITED STATES DISTRICT COURT

for the
Middle District ofFlorida

 

 

 

 

 

 

United States of America )
v. )
HEcToR PABLo-PEREZ ) Case N°' _ 0 b /J
§ 2:‘|9-mj- / 5 D /:
)
)
Defendan!($)
CRIMINAL COMPLAINT
I, the Complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of N|arch 15, 2019 in the county of ChHFlOtt€ in the
l\/liddle District of Florida , the defendant($) violated:
Code Sectr`on O]j%nse Descr:'pfion
8 U.S.C. § 1326(3) illegal Reentry After Deportation.
,1_3
§ f
This criminal complaint is based on these facts: :,¢: 1\_:;`
_ 13
ill Continued on the attached sheet.
W@-xignmure
Roger Mas, Deportation Oft`lcer, |CE
Pr."n!ed name cma' title
Sworn to before me and signed in my presence
Date: 03/20/2019 DM€}¢ vw
y .}zadge 's signa!z'¢'re
ngy and State; Fort Myers, F|orida Doug|as N. Frazier, U.S. Magistrate Judge

 

Prr`rrled name and title

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AFF]DAVIT

I, ROGER MAS, being duly sworn on oath depose and state the following:

l. I have been employed by United States Immigration and Customs
Enforcement (ICE) since May of 2009. I currently hold the position of
Deportation Off'icer (DO), which I have held since September of 2015 . As a DG,
my duties include the apprehension of aliens who are in the United States illegally
and the enforcement of the immigration laws, including offenses involving aliens
who are believed to have reentered the United States after deportation Without
authorization from the Attomey General. This affidavit is based upon my
personal knowledge, as Well as information which has been provided to me by

other law enforcement officers

2. On February 25, 2019, the Charlotte County Sheriff’s Office in Charlotte
County, Florida arrested Hector Pablo-Perez, for the offenses of operating a motor

vehicle without a valid driver’s license and reckless driving

3. On February 26, 2019, the Interoperability Response Center (IRC) at the
Miami Field Oche located Hector Pablo-Perez at the Charlotte County Jail,
located in Punta Gorda, Florida. On March 15, 2019, Deportation Officer (DO)
Orlando Reyes encountered Pablo-Perez at the Charlotte County Jail and placed
the subject under administrative arrest for Illegal Reentry into the United States.

Through a field interview, DO Reyes Was able to establish that Pablo-Perez was

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the same subject who had been previously removed from the United States. Pablo-
Perez’s biographical information was consistent with previously~known
information from law enforcement databases. As per ICE arrest procedure, Pablo-
Perez’s fingerprints were rolled, scanned, and electronically submitted into the
Federal Bureau of Investigations’ Next Generation Identification (NGI). Pablo-
Perez’s fingerprints were also processed through the Department of Homeland
Security’s Automated Biometric Identification System (IDENT), which resulted
in his fingerprints matching a record of a previously deported alien under Alien

File 205-260-984.

4. On March 15, 2019, DO Reyes read Pablo-Perez his Mz'randa warnings, and

Pablo-Perez declined to give a sworn statement.

5 . A search of the ICE computer databases revealed that alien number 205~
260-984 was assigned to Hector Pablo-Perez, both a citizen of Guatemala and
citizen and native of Mexico born in December of 1992. I subsequently reviewed
all requested documents contained in the Alien File pertaining to A205-260-984.
Contained in the documents was an Expedited Removal Order issued on April l,
2012. This order was issued based upon the charges on the Notice and Order of
Expedited Removal (I-860) pursuant to Section 212(a)(7)(A)(i)(I) of the
Immigration and Nationality Act, as amended. On April 1, 2012, the subject

provided a sworn statement to Border Patrol Agent Rene J. Delgado and admitted

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to being a citizen and national of Mexico. Therefore, the Expedited Removal
Order issued on April 1, 2012 indicated the subject was a citizen and national of

Mexico.

6. Also contained in the Alien File were two separate Notices to Alien
Ordered Removed/Departure Verification (1-296) executed on April 2, 2012 and
April 17, 2012. The Notices to Alien Ordered Removed/Departure Verification
(I-296) contained a photograph and fingerprint of the subject, as well as the
location of the subject’s removal/ deportation from the United States.
Additionally, the Alien File also contained two separate Warrants of
Removal/Deportation (1-205) executed on September 2, 2014 and September 5 ,
2014. Both executed Warrants of Removal/Deportation contained a photograph
and fingerpth of the subject, as well as the location of the subject’s
removal/ deportation from the United States. The most recently executed Warrant
of Removal/Deportation revealed that Pablo-Perez was deported on September 5,

2014, from Hidalgo, Texas.

7. Additionally, on March 15 , 2019, the date of the subject’s encounter and
administrative arrest, the subject was in possession of a valid Guaternalan passport
which contained the name and photo of the subject. T he Guatemalan passport
was issued in November of 2015 and in November of 2017. The Guaternalan

passport also indicated the subject’s place of birth as Quintana Roo, Mexico.

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8. Subsequent to his last deportation on September 5, 2014, Pablo-Perez
reentered the United States on an unknown date, at an unknown location Without
being admitted or paroled after inspection by an immigration officer at a
designated port of entry and without permission by the Department of Homeland

Security.

9. On March 19, 2019, a Fingerpr'int Specialist With U.S. Immigration and
Customs Enforcement, Homeland Security Investigations examined the
fingerprints contained on the Notices to Alien Ordered Removed/Departure
Verification dated April 2, 2012 and April 17, 2012, the Warrants of
Removal/Deportation dated September 2, 2014 and September 5, 2014, and
compared them to the fingerprints that were rolled and taken of an individual
believed to be Hector Pablo-Perez by Deportation Officer Orlando Reyes on
March 15, 2019. The Fingerprint Specialist determined that the fingerprints Were

made by the same individual, Hector Pablo-Perez.

10. A search of ICE databases revealed that Hector Pablo-Perez had never
received permission to reenter the United States from the United States Attorney
General or the Secretary for Homeland Security, subsequent to his last deportation

on September 5, 2014.

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11. Based on the above information, I have concluded that, to the best of rriy
knowledge and belief, there is probable cause to believe that, the Defendant,

Hector Pablo-Perez, is presently in the United States, in violation of Title 8, United

States Code, Section 1326(a).

 

Roger Mzmnation Officer
U.S. Department of Homeland Security
Immigration and Customs Enforcernent

Sworn and subscribed to me this ZE day
of March 2019, in Fort Myers, Florida.

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DOUGLAS N. FRAZl/ER
UNITED STATES MAGISTRATE JUDGE

